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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

                              CASE NO.: 3:17-cv-01356-BJD-JRK

  VICTOR MARQUEZ,

         Plaintiff,
  v.

  A-ONE CONCRETE SERVICES, INC.,
  a Florida Profit Corporation,

        Defendant.
  ________________________________/

          PLAINTIFF’S AMENDED MOTION REQUESTING APPROVAL OF
                        SETTLEMENT AGREEMENT

         Plaintiff VICTOR MARQUEZ (“Plaintiff”) by and through his respective undersigned

  counsel, hereby files this Amended Motion Requesting Approval of Settlement Agreement

  Order, and in support thereof states the following in support:

  I.     STATEMENT OF FACTS

         1.      In May 2017, Plaintiff’s counsel prepared a Demand Letter (“Letter”) to

  Defendant on Plaintiff’s behalf, asserting violations of the Fair Labor Standards Act (“FLSA”).

         2.      On December 6, 2017, Plaintiff, through counsel, filed his Complaint, asserting

  violations of the FLSA. See, ECF No. 1.

         3.      On December 20, 2017, Plaintiff and Defendant, without counsel, entered into

  a Mutual Release and Settlement Agreement (“Settlement Agreement”). See Exhibit “A.”

  Pursuant to the Settlement Agreement, Plaintiff received $1,500.00 in exchange for the

  dismissal of the instant lawsuit with prejudice.
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         4.      Thereafter, Plaintiff filed a Motion to Approve Settlement Agreement, To Enter

  Judgment in Favor of Plaintiff, and for Leave to File Motion for Attorneys’ Fees and Costs as

  Prevailing Party. See ECF No. 8. Defendant filed its Response (ECF No. 9) and the Court set

  a hearing for February 21, 2018. See ECF No. 12.

         5.      On February 16, 2018, the parties filed their Joint Notice of Settlement. See

  ECF No 16.

         6.      Pursuant to this Court’s Order, dated April 6, 2018, Plaintiff files this Motion

  to Approve Settlement Agreement. See ECF No. 16.

         7.      In accordance with the applicable requirements for settling an FLSA claim,

  Court approval of the settlement is requested. Pursuant the agreement of the parties during the

  February 21, 2018, hearing, the parties further stipulate to the dismissal of the instant action in

  its entirety, with prejudice, after the Court has reviewed and approved the settlement

  agreement.

  II.    ARGUMENT

         Pursuant to the Fair Labor Standards Act (“FLSA”), claims for overtime and minimum

  wage compensation arising under the FLSA may only be settled or compromised with the

  approval of the district court or the Secretary of Labor. See Brooklyn Savings Bank v. O’Neil,

  324 U.S. 697 (1945); D.A. Schulte, Inc. v. Gangi, 328 U.S. 108 (1946); see also Lynn’s Food

  Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982) (claims for back wages arising

  under the FLSA may be settled or compromised only with the approval of the Court or the

  Secretary of Labor).     To approve the settlement, the Court should determine that the




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  compromise is a fair and reasonable resolution of a bona fide dispute over FLSA provisions.

  Id.

         The parties dispute whether any liability exists in the instant action, but have agreed to

  settle all of the claims in this dispute. Plaintiff and Defendant entered into a Mutual Release

  and Settlement Agreement (“Settlement Agreement”). See ECF No. 8-1. Pursuant to the

  Settlement Agreement, Plaintiff received $1,500.00 in exchange for the dismissal of the instant

  lawsuit with prejudice. Plaintiff is the master of his claim and elected to settle. In addition,

  Plaintiff’s counsel is receiving $2,000.00 in attorneys’ fees and costs, which is a reasonable

  and satisfactory amount of attorneys’ fees and costs.

         With regard to the “Confidentiality Clause” in Paragraph 15 of the Settlement

  Agreement, during the February 21, 2018, the parties have agreed to have the provision

  stricken from the agreement.

         The instant request for approval and striking of the “confidentiality Clause” was agreed

  to during the February 21, 2018, hearing. The instant motion is not filed jointly as Defendant’s

  Counsel did not respond to Plaintiff’s conferral on April 19, 2018, during which Plaintiff

  requested approval of the instant motion. Therefore, the instant motion is filed on behalf of

  Plaintiff, but the agreement was made between the parties on the record on February 21, 2018.

         Thus, it is respectfully request that the Court issue an order striking the “Confidentiality

  Clause” in Paragraph 15 and approving the settlement, and dismissing this action with

  prejudice.




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                              CERTIFICATE OF CONFERRAL

         Pursuant to Rule 3.01(g) of the Local Rules of the United States District Court, Middle

  District of Florida, the undersigned counsel has conferred with Defendant’s Counsel, who has

  no opposition to the relief sought in this motion.



  DATED this 27th day of April 2018.

                                                  Respectfully submitted,

                                                  Noah E. Storch, Esquire
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                                                  Facsimile:     (954) 337-2771
                                                  Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of April, 2018, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which I understand will

  send a copy of same to all counsel of record.



                                                         /s/ Noah E. Storch ___
                                                         Noah E. Storch, Esq.




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